                     Case 19-19396-AJC        Doc 48    Filed 08/26/20    Page 1 of 3
                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


INRE:                                                                  CASE NO.: 19-19396-BKC-AJC
                                                                    PROCEEDING UNDERCHAPTER 13
LAZARO DIAZ
DOMINGA DEL CARMEN DIAZ




                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on AUUU5'1 'J,.f,, U>td> .


                                                           NANCY K. NEIDICH, ESQUIRE
                                                           STANDING CHAPTER 13 TRUSTEE
                                                           P.O. BOX 279806
                                                           MIRAMAR, FL 33027-9806

                                                          By: /s/==A~~====
                                                          o Kenia   lina, Esq.
                                                             FLO DA BARNO: 0085156
                                                          ~Amy Carrington, Esq.
                                                             FLORIDA BAR NO: 101877
                                                           o Jose Ignacio Miceli, Esq.
                                                              FLORIDA BAR NO: 0077539
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                                       NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                CASE NO.: 19-19396-BKC-AJC

                          CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTORS
LAZARO DIAZ
DOMINGA DEL CARMEN DIAZ
2942 SW 2 STREET
MIAMI, FL 3313 5

Via Electronic Service:
ATTORNEY FOR DEBTORS
RICARDO R. CORONA, ESQ.
3899 NW 7 STREET
# 202-B
MIAMI, FL 33126
05/05/2020 TUE 12: 00        CaseFAX
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         OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
         SOUTHERN DISTRICf OF FLOIUDA
                                                                                 NANCY K. NEIDICH, ESQUIRE
                                                                                 STANl)lNG CHAPTER 13 TRUSTEE
                                                                                 P. 0. BOX 279806
                                                                                 MIRA1v1AR, FL 33027-9806
                                                                                 rfELEPHOt\TE: (954) 443-4402
                                                                                 FACSIMILE: (954) 443-4452


         May OS, 2020

         RICAROO R. CORONA, ESQ.
         3899 NW 7 STREET
         #202-B
         MIAMI, FL 33126
         C.ase: 19-19396-BKC-AJC                            RE: LAZARO DIAZ
                                                                DO?l/IINGA DEL CARMEN DIAZ



         Dear RJCAROO R. CORONA, ESQ.


         More than thirty days have passed since the claims bar date on September 25, 2019. You have failed to file the
         Notice of Compliance by Attorney for Debtor required by Local Rule 2083-l(B) Claims Review Requirement,
         also know as Local Form 76.

         'Ihe scope of the review required states: "Not later than 21 days after expiration of the claims bar date, the
         attorney shall examine, from records maintained by the clerk, the claims register and all claims filed in the case
         to determine vvhether additional action is necessary, including the filing <mcl service in accordance with all
         applicable mies of: (a) an amended plm1 if the plan has not been con:fomcd; (b) a motion to modify the
         confirm eel plan; (c) objections to nonconfo1111ing cl aims-" Local Rule 2083-1(B)(1)

        You rnust file a Local form 76 within twenty (20) days of this Jetter or the "frustee may file a Motion to Dism.iss
        this case

         Very truly yours,


         Claims Administrator
